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     ALDO A. BADINI (257086)
 1   JEFFREY L. KESSLER (pro hac vice)
 2   A. PAUL VICTOR (pro hac vice)
     EVA W. COLE (pro hac vice)
 3   MOLLY M. DONOVAN (pro hac vice)
     WINSTON & STRAWN LLP
 4   200 Park Avenue
     New York, New York 10166-4193
 5
     Telephone: (212) 294-6700
 6   Facsimile: (212) 294-7400
     Email: jkessler@winston.com
 7
     STEVEN A. REISS (pro hac vice)
 8   DAVID L. YOHAI (pro hac vice)
     ADAM C. HEMLOCK (pro hac vice)
 9   WEIL, GOTSHAL & MANGES LLP
10   767 Fifth Avenue
     New York, New York 10153-0119
11   Telephone: (212) 310-8000
     Facsimile: (212) 310-8007
12   Email: steven.reiss@weil.com
13   Attorneys for Defendants Panasonic Corporation of North America, MT Picture Display Co., Ltd.,
     and Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
14

15                          IN THE UNITED STATES DISTRICT COURT
16                            NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18   In re: CATHODE RAY TUBE (CRT) ANTITRUST ) Case No. 07-5944 SC
     LITIGATION                              )
19                                           ) MDL. No. 1917
     This Document Relates to:
20                                             DECLARATION OF EVA W. COLE IN
     INDIRECT-PURCHASER ACTIONS                SUPPORT OF THE PANASONIC
21                                             DEFENDANTS’ ADMINISTRATIVE
                                               MOTION TO SEAL DOCUMENTS
22                                             PURSUANT TO CIVIL LOCAL RULES
                                               7-11 AND 79-5(d)
23

24

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     DECL. OF EVA W. COLE I/S/O                                                     Case No. 07-5944 SC
     PANASONIC DEFENDANTS’ MOTION TO SEAL                                                MDL No. 1917
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     I, Eva W. Cole, declare as follows:
 1

 2                  1.        I am an attorney with Winston & Strawn LLP, attorneys for Defendants

 3   Panasonic Corporation of North America, MT Picture Display Co., Ltd., and Panasonic Corporation

 4   (f/k/a Matsushita Electric Industrial Co., Ltd.) (collectively, the “Panasonic Defendants”) in these
 5
     actions. I am a member of the bar of the State of New York and I am admitted to practice before this
 6
     Court pro hac vice. I make this declaration pursuant to Civil Local Rule 79-5(d) to establish that the
 7
     Additional Errata to the Declaration of Robert D. Willig (“Additional Errata”), submitted to the Court
 8
     in connection with Defendants’ Opposition to Indirect-Purchaser Plaintiffs’ Motion for Class
 9

10   Certification, contains Confidential and Highly Confidential information and is sealable. Except for

11   those matters stated on information and belief, about which I am informed and which I believe to be
12   true, I have personal knowledge of the facts stated herein and, if called as a witness, I could and
13
     would competently testify thereto.
14
                    2.        On June 18, 2008, the Court approved a “Stipulated Protective Order” in this
15
     matter (Dkt. No. 306).
16
                    3.        On December 17, 2012, Defendants filed a joint administrative motion seeking
17

18   leave to file under seal portions of their Opposition to Indirect-Purchaser Plaintiffs’ Motion for Class

19   Certification (“Opposition Brief”) and supporting documents including the Declaration of Robert D.

20   Willig (“Willig Declaration”) (Dkt. No. 1489). Defendants’ joint motion to seal was supported with
21
     declarations from counsel for seven defendant groups.1 On December 27, 2012, the Court granted
22

23
     1
24     Declaration of Eva W. Cole in Support of Administrative Motion to File Under Seal (Dkt. No.
     1489-1); Declaration of Michelle Park Chiu in Support of Administrative Motion to File Under Seal
25   (Dkt. No. 1491); Declaration of Hojoon Hwang in Support of Administrative Motion to File Under
     Seal (Dkt. No. 1494); Declaration of Tyler Cunningham in Support of Administrative Motion to File
26   Under Seal (Dkt. No. 1495); the Declaration of Courtney Byrd in Support of Administrative Motion
     to File Under Seal (Dkt. No. 1489-1); the Declaration of Lucius B. Lau in Support of Administrative
27   Motion to File Under Seal (Dkt. No. 1490); Declaration of Charles Malaise in Support of
     Administrative Motion to File Under Seal (Dkt. No. 1493).
28                                                   -2-
     DECL. OF EVA W. COLE I/S/O                                                           Case No. 07-5944 SC
     PANASONIC DEFENDANTS’ MOTION TO SEAL                                                      MDL No. 1917
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     Defendants’ joint motion to seal. Order Re Administrative Motions to File Under Seal (Dkt. No.
 1

 2   1523).

 3                  4.      On January 18, 2013, the Panasonic Defendants filed an Administrative Motion

 4   to Seal, and lodged conditionally under seal, portions of the Errata to the Declaration of Robert D. Willig
 5   in Support of the Opposition Brief, pursuant to Civil Local Rules 7-11 and 79-5(d), which contains
 6
     information from documents that Defendants have designated “Confidential” or “Highly Confidential.”
 7
                    5.      On January 22, 2013, the Panasonic Defendants filed an Administrative Motion
 8
     to Seal, and lodged conditionally under seal, portions of the following document, pursuant to Civil Local
 9
     Rules 7-11 and 79-5(d):
10
                           Additional Errata to the Declaration of Robert D. Willig in Support of the
11

12                          Opposition Brief that contains information from documents that Defendants have

13                          designated “Confidential” or “Highly Confidential.”

14                  6.      Pursuant to Civil Local Rule 79-5(d), I make this declaration on behalf of the
15   Panasonic Defendants to provide the basis for the Court to maintain under seal certain documents
16
     and information designated by defendants as “Confidential” or “Highly Confidential” pursuant to the
17
     Stipulated Protective Order, and all references to those documents and information in the Additional
18
     Errata.
19

20                  7.      Upon information and belief, the Additional Errata consists of, cites to, and/or

21   identifies confidential, nonpublic, proprietary and highly sensitive business information.            The

22   Additional Errata contains, cites to, and/or identifies confidential information about defendants’
23   sales processes, business practices, internal practices, negotiating tactics, confidential business and
24
     supply agreements and competitive positions. The Additional Errata describes relationships with
25
     companies that remain important to the defendants’ competitive position. I am informed and believe
26
     that this is sensitive information and public disclosure of this information presents a risk of
27

28                                                      -3-
     DECL. OF EVA W. COLE I/S/O                                                             Case No. 07-5944 SC
     PANASONIC DEFENDANTS’ MOTION TO SEAL                                                        MDL No. 1917
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     undermining the defendants’ business relationships, would cause it harm with respect to its
 1

 2   competitors and customers, and would put the Panasonic Defendants at a competitive disadvantage.

 3                  8.      The Additional Errata quotes from or describes documents or information

 4   designated as “Confidential” or “Highly Confidential” by the defendants pursuant to the Stipulated
 5
     Protective Order. As with the original Willig Declaration filed on December 17, 2012, I understand
 6
     that the defendants consider any statements in the Additional Errata purporting to summarize the
 7
     exhibits or any other documents or information designated “Confidential” or “Highly Confidential”
 8
     by the defendants confidential and proprietary. I am informed and believe that the defendants have
 9

10   taken reasonable steps to preserve the confidentiality of information of the type contained, identified,

11   or cited to in the Additional Errata.
12          I declare under penalty of perjury under the laws of the United States of America that the
13
     foregoing is true and correct.
14
     DATED: January 22, 2013                       By: /s/ Eva W. Cole
15                                                 JEFFREY L. KESSLER (pro hac vice)
                                                   Email: jkessler@winston.com
16                                                 A. PAUL VICTOR (pro hac vice)
17                                                 Email: pvictor@winston.com
                                                   ALDO A. BADINI (257086)
18                                                 Email: abadini@winston.com
                                                   EVA W. COLE (pro hac vice)
19                                                 Email: ewcole@winston.com
                                                   MOLLY M. DONOVAN (pro hac vice)
20                                                 Email: mmdonovan@winston.com
21                                                 WINSTON & STRAWN LLP
                                                   200 Park Avenue
22                                                 New York, New York 10166-4193
                                                   Telephone: (212) 294-6700
23                                                 Facsimile: (212) 294-7400
24                                                 STEVEN A. REISS (pro hac vice)
25                                                 Email: steven.reiss@weil.com
                                                   DAVID L. YOHAI (pro hac vice)
26                                                 Email: david.yohai@weil.com
                                                   ADAM C. HEMLOCK (pro hac vice)
27                                                 Email: adam.hemlock@weil.com
28                                                   -4-
     DECL. OF EVA W. COLE I/S/O                                                           Case No. 07-5944 SC
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                                            WEIL, GOTSHAL & MANGES LLP
 1                                          767 Fifth Avenue
 2                                          New York, New York 10153-0119
                                            Telephone: (212) 310-8000
 3                                          Facsimile: (212) 310-8007

 4                                          GREGORY D. HULL (57367)
                                            Email: greg.hull@weil.com
 5
                                            WEIL, GOTSHAL & MANGES LLP
 6                                          201 Redwood Shores Parkway
                                            Redwood Shores, California 94065-1175
 7                                          Telephone: (650) 802-3000
                                            Facsimile: (650) 802-3100
 8
                                            Attorneys for Defendants Panasonic Corporation of
 9
                                            North America, MT Picture Display Co., Ltd., and
10                                          Panasonic Corporation (f/k/a Matsushita Electric
                                            Industrial Co., Ltd.)
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     DECL. OF EVA W. COLE I/S/O                                                Case No. 07-5944 SC
     PANASONIC DEFENDANTS’ MOTION TO SEAL                                           MDL No. 1917
